     Case 3:18-cv-01852-MO      Document 2          Filed 10/19/18      Page 1 of 11



                    UNITED STATES DISTRICT COURT

                           DISTRICT OF OREGON

                           PORTLAND DIVISION
                                                      FILED19 OCT ~1814:281.iSDC-ORP


MICHELE BRYCE,                                    JURY TRIAL DEMANDED

     Plaintiff,

V.
                                              CASE NO.
                                                              3:18-cv-01852-MO
CHOICE HOTELS INTERNATIONAL,
BAMCO, INC.,
BARON CAPITAL GROUP, INC.,
BARON CAPITAL MNGT, INC.,
SUNBURST HOSPITALITY CORP,
BARBARA T. ALEXANDER,
BARBARA J BAINUM,
STEWART BAINUM JR,
RONALD STEPHEN BARON,
WILLIAM L. JEWS,
MONTE JM KOCHE,
LIZA LANDSMAN,
PATRICK PACIOUS,
SCOTT ARNOLD RENSCHLER,
ERVIN R SHAMES,
JOHN P TAGUE,

     Defendants.



            COMPLAINT AND REQUEST FOR INJUCTIVE RELEIF

     Plaintiff, MICHELE BRYCE, for this complaint against Defendants CHOICE

HOTELS INTERNATIONAL, BAMCO, INC., BARON CAPITAL GROUP, INC,

BARON CAPITAL MNGMT, INC., SUNBURST HOSPITALITY CORPORATION,

BARBARA T. ALEXANDER, BARBARA J BAINUM, STEWART BAINUM JR,

RONALD STEPHEN BARON, WILLIAM L. JEWS, MONTE JM KOCHE, LIZA

LANDSMAN, PATRICKPACIOUS,SCOTT ARNOLD RENSCHLER, ERVIN R

SHAMES, JOHN P TAGUE, states as follows:


                                   Page 1 of 11
     Case 3:18-cv-01852-MO            Document 2           Filed 10/19/18   Page 2 of 11



1.   This action is brought against the Defendants pursuant to Kari's Law Act of 2017,

     18 USC§ 1201, 47 USC§ 623 and 18 USC§ 113 to restrain and enjoin

     Defendants from risking the lives of the public, children, mothers, the elderly,

     through complete depraved indifference to their well-being, by illegally not

     providing access to 911 operators for emergency and, further, heinously and

     cruelly refusing to assist with making any necessary emergency calls and further,

     holding citizens captive against their will, as Defendants did with Plaintiff.

                                 Jurisdiction and Venue

2.   Jurisdiction is conferred on this court pursuant to 28 U.S. Code§ 1332(a)(l).

3.   Venue is proper in this district under 28 U.S.C. § 1391.

4.   Plaintiff is a resident of Oregon and is sui Juris.

5.   Defendant Choice Hotels International, is registered in the state of Maryland.

6.   Defendant Bamco, Inc., d/b/a Choice Hotels International, is registered in the

     state of New York.

7.   Defendant Baron Capital Group, Inc. d/b/a Choice Hotels International, is

     registered in the state of New York.

8.   Defendant Baron Capital Management, Inc, d/b/a Choice Hotels International, is

     registered in the state of New York.

9.   Defendant Sunburst Hospitality Corporation d/b/a Choice Hotels International, is

     registered in the state of Maryland.

10. Defendant Barbara T Alexander d/b/a Choice Hotels International, owner and

     director, registered in the state of Maryland.

11. Defendant Barbara J Bainum d/b/a Choice Hotels International, owner, registered

     in the state of Maryland.




                                          Page 2 of 11
   Case 3:18-cv-01852-MO            Document 2         Filed 10/19/18    Page 3 of 11



12. Defendant Stewart Bainum Jr d/b/a Choice Hotels International, owner and

    chairman, registered in the state of Maryland.

13. Defendant Ronald Stephen Baron d/b/a Choice Hotels International, owner,

    registered in the state of New York.

14. Defendant William L Jews d/b/a Choice Hotels International, owner and director,

    registered in the state of Maryland.

15. Defendant Monte JM Koche d/b/a Choice Hotels International, owner and

    director, registered in the state of Maryland.

16. Defendant Liza Landsman d/b/a Choice Hotels International, owner and director,

    registered in the state of Maryland.

17. Defendant Patrick Pacious d/b/a Choice Hotels International, owner and director,

    registered in the state of Maryland.

18. Defendant Scott Arnold Renschler d/b/a Choice Hotels International, owner and

    director, registered in the state of Maryland.

19. Defendant Ervin R Shames d/b/a Choice Hotels International, owner and director,

    registered in the state of Maryland.

20. Defendant John P Tague d/b/a Choice Hotels International, owner and director,

    registered in the state of Maryland.

    Defendants have a sociopathic attitude towards the safety of their guests.

21. On, or about, July 26, 2017 Defendants, with forethought and great malice, did

    heinously block 911 access, deny Plaintiff access to immediate, necessary

    medical emergency services and, with depraved indifference, did keep Plaintiff

    captive, against Plaintiffs will, inside a room on their premises.




                                        Page 3 of 11
   Case 3:18-cv-01852-MO             Document 2        Filed 10/19/18     Page 4 of 11



22. On, or about, July 26, 2017 Plaintiff, after being injured on the premises of the

    Defendants property and while staying in a room of said property, attempted to

    call 911 for emergency medical treatment and the line was blocked for 911 calls.

       Defendants seem to get their hospitality skills from the Bates Motel.

23. Plaintiff was able to get the front desk on the phone and requested that 911 be

    called and that Plaintiff be let out of the room, but was told that they do not have

    any such procedure or responsibility and hung up on Plaintiff.

24. This was an intentional act of cruelty upon the Plaintiff to keep Plaintiff from

    receiving necessary medical care, because Plaintiff was injured on their premises

    the day before.

25. As a result, Plaintiff was held captive inside Defendants premises, unable to stand,

    unable to move, unable to get necessary, emergency medical care and suffered

    great pain of body and mind.

                      If Plaintiff had died, Defendants would never

                                  have had to explain

                  why they blocked 911 and kept Plaintiff captive.

26. Plaintiff contacted Defendants to discuss the serious jeopardy this could present

    for future guest's safety and lives, specifically women, children and the elderly.

27. Plaintiff was told by Defendants that "Guests safety is not our responsibility".

28. Likelihood of Plaintiff succeeding on the merits of the case are indisputable as

    the evidence of illegal actions taken by Defendants, kidnapping, assault, Kari's

    Law and deliberately blocking 911 access, is beyond explanation.

29. There is an unquestioned threat every minute of every day, that Defendants are

    allowed to continue blocking 911 access and confining guests without their

    permission.



                                        Page 4 of 11
   Case 3:18-cv-01852-MO            Document 2         Filed 10/19/18      Page 5 of 11



30. The balance of harm truly weighs heavily with Plaintiff, as unsuspecting citizens

    lives are put in danger every time they are allowed to stay with Defendants.

31. Nobody thought that a hotel could be so evil, until Kari Dunn was murdered in

    one while her daughter sat frantically dialing out for help, or until Plaintiff lay on

    the Defendants floor, in desperate need of medical care, while Defendants

    confined Plaintiff to her room and blocked all access to the outside world.

32. The public is in danger. Each moment wasted, puts another life in danger. What if

    it happened to someone you knew?

                                        Claim I

                         Violation of Kari's Law Act of 2017

33. Pursuant to Kari's Law Act of 2017, the Defendants remain in violation by not

    having working telephones, in each and every one of their thousands of rooms,

    that has been configured to ensure the user reach a 911 operator, without

    assistance.

34. In 2013 Kari Dunn was being stabbed to death in her room, while her daughter

    was attempting to call 911, but the hotel had blocked outside calls. The child was

    also locked in that room, forced to do nothing, while her mother was viciously

    and repeatedly stabbed. There is no way to explain the kind of horror one feels

    when they are in mortal danger, but locked in a room, with no way out.

35. People's lives are in danger. What if a mother falls in the shower, bleeding from

    the head, and her child is too short to reach the lock, and the phone won't allow a

    911 call, and the front desk tells them, "It's not our problem", exactly as they did

    with Plaintiff.

36. What the Defendants did to Plaintiff is exactly the reason Kari's Law was

    enacted.




                                        Page 5 of 11
   Case 3:18-cv-01852-MO             Document 2         Filed 10/19/18    Page 6 of 11



37. The Defendants refuse to correct this issue, regardless of repeated demands by

    Plaintiff.

38. The Defendants have stated that "A safety policy is not going to happen. It's not

    our responsibility."

39. If only one citizen is in danger, then it behooves this court to take necessary

    precautions to save that citizen's life.

                                         Claim II

                             Violations of 18 USC § 1201

40. Pursuant to 18 USC§ 1201, which reads,

             Kidnapping (a) Whoever unlawfully seizes, confines, inveigles, decoys,

             kidnaps, abducts, or carries away and holds for ransom or reward or

             otherwise any person, except in the case of a minor by the parent thereof,

             when-

41. Defendants did illegally hold Plaintiff captive and confine Plaintiff within their

    premises, against Plaintiffs will.

42. Plaintiff called to be let out and was unlawfully, and against Plaintiffs will, held

    captive, confined within a locked room controlled by the Defendants, on their

    property.

43. The horror of already being in an extremely dangerous situation, which is the

    reason citizens call 911, and then to call the Defendants for help, only to be told,

    "Not our problem".

44. Plaintiff was too weak to pull h~rselfup from the ground and too weak to pull

    herself up to unlock the thick, heavy latch on the very top of the door and

    Defendants knew this, but chose to keep Plaintiff captive within their premises,




                                         Page 6 of 11
   Case 3:18-cv-01852-MO              Document 2        Filed 10/19/18        Page 7 of 11



    alone, terrified and living a horror that no human being should ever have to

    endure, lying there, defenseless, vulnerable, trapped in a box and desperate.

45. When Plaintiff managed to survive the horrific night of illegal captivity, Plaintiff

    has since spent her time demanding that Defendants never put another human

    being through such traumatic events, however Defendants are taking expensive,

    extreme measures to ensure that they do not have to offer safety or protection to

    the citizens who stay with them.

46. Plaintiff has demanded that Defendants place a Safety Policy and Procedure in

    place for the safety and protection of naive citizens who believe the Defendants

    to be honorable businessmen, and stay with Defendants.

                                         Claim III

                               Violations of 47 USC§ 623

47. 47 USC§ 623. Configuration of multi-line telephone systems for direct dialing of

    9-1-1.

(a) System manufacture, importation, sale, and lease

  A person engaged in the business of manufacturing, importing, selling,

or leasing multi-line telephone systems may not manufacture or import for

use in the United States, or sell or lease or offer to sell or lease in the

United States, a multi-line telephone system, unless such system is

pre-configured such that, when properly installed in accordance with

subsection (b), a user may directly initiate a call to 9-1-1 from any station

equipped with dialing facilities, without dialing any additional digit, code,

prefzx, or post-fix, including any trunk-access code such as the digit "9 ",

regardless of whether the user is required to dial such a digit, code, prefix,

or post-fix for other calls.




                                         Page 7 of 11
   Case 3:18-cv-01852-MO              Document 2        Filed 10/19/18        Page 8 of 11



(b) System installation, management, and operation A person engaged in the business

of installing, managing, or operating multi-line telephone systems may not install,

manage, or operate for use in the United States such a system, unless such system is

configured such that a user may directly initiate a call to 9-1-1 from any station

equipped with dialing facilities, without dialing any additional digit, code, prefix, or

post-fix, including any trunk-access code such as the digit "9 ", regardless of whether

the user is required to dial such a digit, code, prefix, or post-fix for other calls.

48. The Defendants have not maintained emergency usage of the telephone lines

    within each and every room, and did put Plaintiffs life in mortal danger because

    of their lack of any form of safety policy or procedure.

49. On, or about, July 26, 2017, Plaintiff required emergency services while a guest

    of the Defendants establishment.

50. 911 was blocked.

51. Plaintiff was kept captive in the room and Defendants blocked all contact with

    the outside world.

                                         Claim IV

                               Violations of 18 USC § 113


52. 18 USC§l 13. Assaults within maritime and territorial jurisdiction

(a) Whoever, within the special maritime and territorial jurisdiction of the United
States, is guilty of an assault shall be punished as follows:.

(1) Assault with intent to commit murder or a violation of section 2241 or 2242, by a
fine under this title, imprisonment for not more than 20 years, or both.

(2) Assault with intent to commit any felony, except murder or a violation of section
2241 or 2242, by a fine under this title or imprisonment for not more than ten years,
or both.

(3) Assault with a dangerous weapon, with intent to do bodily harm, by a fine under
this title or imprisonment for not more than ten years, or both.



                                         Page 8 of 11
   Case 3:18-cv-01852-MO             Document 2         Filed 10/19/18          Page 9 of 11



(4) Assault by striking, beating, or wounding, by a fine under this title or
imprisonment for not more than 1 year, or both.

(5) Simple assault, by a fine under this title or imprisonment for not more than six
months, or both, or if the victim of the assault is an individual who has not attained
the age of 16 years, by fine under this title or imprisonment for not more than 1 year,
or both.

(6) Assault resulting in serious bodily injury, by a fine under this title or
imprisonment for not more than ten years, or both.

(7) Assault resulting in substantial bodily injury to a spouse or intimate partner, a
dating partner, or an individual who has not attained the age of 16 years, by a fine
under this title or imprisonment for not more than 5 years, or both.

(8) Assault of a spouse, intimate partner, or dating partner by strangling, suffocating,
or attempting to strangle or suffocate, by a fine under this title, imprisonment for not
more than 10 years, or both.

(b) Definitions.-In this section-

(1) the term "substantial bodily injury" means bodily injury which involves-

(A) a temporary but substantial disfigurement; or

(B) a temporary but substantial loss or impairment of the function of any bodily
member, organ, or mental faculty;

(2) the term "serious bodily injury" has the meaning given that term in section 1365 of
this title;

(3) the terms "dating partner" and "spouse or intimate partner" have the meanings L
given those terms in section 2266

53. Defendants own and operate hotels where unsuspecting, travelling citizens stop

    for the evening for a safe place to sleep. It's almost standard and necessary for

    citizens to pay for a hotel room when travelling.

54. It is not possible for travelling citizens to know, or even to know to check,

    whether or not the establishment is safe and up to code.

55. In 2013 Kari Dunn checked into a hotel with her daughter, believing, as we all do

    when we rent a hotel room, that we are much safer than if we were sleeping on a




                                         Page 9 of 11
  Case 3:18-cv-01852-MO              Document 2           Filed 10/19/18   Page 10 of 11



    park bench. Had Kari slept on a park bench instead, she might be alive today.

    Had Plaintiff slept on a park bench, she would have been much safer.

56. Plaintiff almost died in that room.

57. No one is safe if they stay with Defendants and it's not the place of this court to

    take risks with human life.

58. Until such a time as each and every phone, in each and every room, of each and

    every facility, is tested and certified as working, Defendants cannot be trusted to

    ensure the safety of helpless citizens staying in their establishments.

                                  Demand for Jury Trial

59. Plaintiff demands trial by jury.

                                  Reservation of Rights

60. Plaintiff reserves the right to further amend this complaint, upon completion of

    investigation and discovery, to assert any additional claims for relief against

    Defendants or other parties as may be warranted under the circumstances and as

    allowed by law.

                                    Prayer for Relief

    WHEREFOR, PLAINTIFF, respectfully requests that this court enter a

judgement,

    1) Grant injunction to restrain and enjoin Defendants to do the following:

         1.    Immediately cease and desist all booking, selling, rentals, stays o£'in any

               and all rooms, of each and every establishment, until such a time as each

               and every phone, in each and every room, has certified outside access to

               911,

         11.   Test each and every phone, in each and every room, of each and every

               establishment for outside 911 access,



                                          Page 10 of 11
  Case 3:18-cv-01852-MO              Document 2         Filed 10/19/18    Page 11 of 11



        111.   Certify that each and every phone, in each and every room, of each and

               every establishment has outside 911 access,

        1v. Construct a safety and security policy that ensures the safety and security

               of all Defendant's guests,

    2) Require Defendants to pay aggravated damages in the amount of $20,000,000,

    3) Require Defendants to pay special and general damages,

    4) Require Defendants to pay all legal fees and costs,

    5) Require Defendants to pay punitive damages for egregious behavior,

    6) Grant any other such relief as this court may deem just and appropriate.

Respectfully submitted,                                 This 18th day of October, 2018.




Beaverton, OR 97075
(727) 512-3235
msbryce@solution4u.com




                                        Page 11 of 11
